                      IN THE UNITED STATES BANKRUPTCY COURT
                     FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

   IN RE:                                                    :
                                                             :    CHAPTER 7

   DIANA M. JOHNSON,                                         :    CASE NO. 5:20-bk-02858-MJC

                            Debtor                           :

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      TRUSTEE’S APPLICATION TO EMPLOY BK GLOBAL REAL ESTATE
     SERVICES AND ASSET PROPERTY SOLUTIONS REALTY AS REALTORS


            Robert P. Sheils, Jr., Chapter 7 Trustee, hereby applies for an Order as follows:

            1.       The Debtor filed a petition under Chapter 7 of the Bankruptcy Code (the

   “Code”) on September 29, 2020.

            2.       Robert P Sheils, Jr. was appointed Chapter 7 Trustee on September 29,

   2020.

            3.       Debtor is the owner of real property located at 2304 State Route 92 HWY

   Harding, PA 18643 and known as (hereinafter the “Premises”).

            4.       Your applicant desires to sell the Premises as it is in the best interest of the

   creditors and is for the purpose of liquidating the real property.

            5.       Your applicant desires to retain Patrick Butler of BK Global Real Estate

   Services with offices and a mailing address of 1095 Broken Sound Parkway, NW, #100,

   Boca Raton, FL 33487, and Listing Agent, Bradley Beck of Asset Property Solutions

   Realty, with offices and a mailing address of 87 N Broad Street Suite 107 E.,

   Dolyestown, Pennsylvania 18901, to appraise and sell the real property. BK Global Real




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   Estate Services and Asset Property Solutions Realty will receive a commission of six

   percent (6%) that will be split via a 2%/2%/2% of the sales price upon the sale of the real

   property.

          6.      Patrick Butler of BK Global Real Estate Services and Bradley Beck of

   Asset Property Solutions Realty are duly licensed and are qualified to undertake the

   responsibilities. Attached are Affidavits of Proposed Realtors, a copy of which is attached

   hereto as Exhibit “A” and incorporated herein by reference. The Listing Agreement is

   attached hereto as Exhibit “B” and incorporated herein by reference.

          WHEREFORE, your applicant requests an Order employing Patrick Butler of

   BK Global Real Estate Services of 1095 Broken Sound Parkway, NW, #100, Boca Raton,

   FL 33487, and Bradley Beck of Asset Property Solutions Realty, with offices and a

   mailing address of 87 N Broad Street Suite 107 E., Dolyestown, Pennsylvania 18901, as

   realtors in this matter for the purpose of appraising and selling the real property for a

   commission of six percent (6%) of the sales price, contingent upon the sale of the real

   property.



   Dated: September 14, 2021                      /s/ Robert P. Sheils, Jr._____
                                                  Robert P. Sheils, Jr., Esquire
                                                  Chapter 7 Trustee
                                                  Supreme Court ID: 36340
                                                  108 North Abington Road
                                                  Clarks Summit, PA 18411
                                                  570-587-2600
                                                  570-585-0313 – Facsimile
                                                  rsheils@sheilslaw.com




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